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                                       TERMS OF SERVICE




        Retreaver Terms Of Service


        Last modified: July 14, 2016


        Welcome to Retreaver
        Thanks for accessing our website, viewing our content, and using our products and services (together,
        the “Services”). The Services are provided by Retreaver, Inc. (“Retreaver”), located at 163 Spadina Ave,
        2nd Floor, Toronto, ON M5V 2L6, Canada.

        By using the Services, you are agreeing to these Terms of Service, our Privacy Policy, and our Copyright
        Policy. Please read them carefully. If you do not agree to these Terms of Service, our Privacy Policy, or
        our Copyright Policy, you may not use the Services.

        We may modify these Terms of Service from time to time as the Services change, as applicable law
        changes, or for any other reason. All modifications to these Terms of Service are effective immediately
        when posted. If you do not agree to the modified Terms of Service, you may not use the Services.

        The Services are offered to users who are 18 years of age or older. If you are under the age of 18 you
        may not use the Services.

        If you have any questions, you can reach the Retreaver team at https://retreaver.com/contact.
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        You must either: enter into a separate agreement with us describing the specific terms and conditions
        of the Services to be provided to you, or complete the registration process made available to you by
        us. When using the Services, you shall be subject to any posted guidelines, rules, or licenses. Such
        guidelines, rules, or licenses may contain terms and conditions in addition to those described in this
        Terms of Service.

        You may be required to setup a Retreaver account to use the Services. You acknowledge that your
        account is personal to you and agree not to provide any other person with access to the Services using
        your username and password. You are responsible for the quality and integrity of the data in your
        account. You agree to notify us immediately of any unauthorized access to or use of your username or
        password or any other breach of security.

        You agree to obtain consent from all parties that you are interfacing to.

        You agree not to do the following:

               Use the Services in any way that violates any applicable law or regulation, including laws and
               regulations regarding the transmission of data or software.
               Engage in any other conduct that restricts or inhibits anyone's use or enjoyment of the Services, or
               which, as determined by us, may harm the Company or any third party or expose them to liability,
               damages, or danger.
               Use the Services in any manner that could disable, overburden, damage, or limit our ability to
               provide the Services.
               Use any robot, spider or other automatic device, process or means to access the Services for any
               purpose, including monitoring or copying any of the material on the Services, except via published
               APIs.
               Use any manual process to monitor or copy any of the material on the Services or for any other
               unauthorized purpose without our prior written consent.
               Attempt to interfere with the proper working of the Services.
               Use the Services to encourage any illegal, abusive, or other activities that interfere with the
               business or activities of Retreaver.
               Reverse-engineer the Services in order to find limitations, vulnerabilities, or evade filtering
               capabilities.
               Attempt to gain unauthorized access to, interfere with, damage or disrupt any parts of the
               Services, or any server, computer or database connected to the Services.
               Use the Services in any manner that violates: industry standards; any third party policies including
               all of the applicable guidelines published by the CTIA, the Mobile Marketing Association, or any
               other accepted industry associations, carrier guidelines (or any similar or analogous industry
               standards, third party policies or requirements in any other jurisdiction), or requirements that
               Retreaver may communicate to its Customers including any usage requirements.
               Engage in any unsolicited advertising, marketing or other activities, including any activities that
               violate anti-spam laws and regulations including the CAN SPAM Act of 2003, the Telephone
               Consumer Protection Act, and the Do-Not-Call Implementation Act (or any similar or analogous
               anti spam data protection or pri ac legislation in an other j risdiction)
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           anti-spam, data protection, or privacy legislation
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                Use the Services in connection with any unsolicited or harassing messages (commercial or
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                otherwise) including unsolicited or unwanted phone   calls, SMS or text messages, voice mail, or
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           faxes.
           Use the Services to engage in or in connection with fraudulent activity.
           Use the Services to receive, send or otherwise process Protected Health Information as defined by
           the Health Insurance Portability and Accountability Act of 1996 as amended, unless you have
           signed a Business Associate Agreement with Retreaver or your use of the Services fits within the
           “conduit” or some other exception for requiring a Business Associate Agreement.
           Take any action to participate in, encourage, or promote any activity prohibited under this Terms
           of Service.
           Use the Services to transmit any material that infringes the intellectual property rights or other
           rights of third parties.
           Use the Services to transmit any material that is libelous, defamatory, discriminatory, or otherwise
           malicious or harmful to any person or entity.
           Use the Services, or any component of the Services, in any manner not authorized by Retreaver.

      You will take all reasonable precautions to prevent unauthorized access to or use of the Services and
      notify Retreaver promptly of any such unauthorized access or use.

      We reserve the right to change or stop providing the Services at any time. We will not be liable if for
      any reason all or any part of the Services are unavailable at any time or for any period.

      We have the right to disable your use of the Services, at any time for any or no reason, including if, in
      our opinion, you have violated any provision of these Terms of Service. We reserve the right to
      discontinue, temporarily or permanently, any or all of the Services to you, including by shutting down
      phone numbers, at any time, provided we will make reasonable efforts to notify you within 24 hours of
      doing so. We shall not be liable to you or any third-party for any termination of your access to the
      Services except as specifically set forth in this Terms of Service.


      Fees
      We will charge you fees in accordance with the terms of either: a separate agreement or the
      registration process you complete. Unless otherwise stated, all fees are quoted in U.S. dollars. You are
      responsible for paying all fees associated with using the Services and all applicable taxes. We are happy
      to give refunds on deposited amounts that are not used for the Services.

      In the event that your usage of the Services exceeds the amount you deposited or you fail to pay the
      amounts due, Retreaver will be entitled to suspend the Services including deleting your telephone
      number without prior notice. Retreaver will not have any liability whatsoever for any damage, liabilities,
      losses (including any loss of data or profits) or any other consequences that you may incur with respect
      to any suspension of the Services pursuant to this Section.


      Service Outages
      The Services are reliant upon independent services provided by third-parties that are beyond our
      control. The loss or interruption of any one of those independent services may prevent the Services
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        from operating. We will use commercially reasonable                       communications initiated
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        by you and/or intended for you during any loss or interruption of such independent
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        Such independent services interruptions may include, but are not limited to:

               Power outages;
               Internet Service Provider outages;
               Telecommunications services provider outages;
               Outages due to suspension of your account; and
               Outages due to your failure to maintain the services used in conjunction with the Services.


        Intellectual Property Rights
        The Services are owned by Retreaver, its licensors or other providers of such material and are protected
        by United States and international copyright, trademark, patent, trade secret and other intellectual
        property or proprietary rights laws.

        Retreaver, the Retreaver logo, and all related names, logos, product and service names, designs and
        slogans are trademarks of Retreaver or its affiliates or licensors. You may not use such marks without
        Retreaver’s prior written permission. All other names, logos, product and service names, designs and
        slogans included in the Services are the trademarks of their respective owners.

        You hereby grant Retreaver a royalty-free, nonexclusive, limited license to use your name and logo on
        the Retreaver website or in other public relations materials so that we can include you as a customer of
        Retreaver. You may terminate such authorized use upon 30 days written notice.


        Reliance on Information Posted
        Any information contained in the Services is made available solely for general information purposes.
        We do not warrant the accuracy, completeness or usefulness of this information. Any reliance you
        place on such information is strictly at your own risk. We disclaim all liability and responsibility arising
        from any reliance placed on such materials by you or any other user of the Services, or by anyone who
        may be informed of any of its contents.


        Disclaimer of Warranties
        YOUR USE OF THE SERVICES IS AT YOUR OWN RISK. THE SERVICES ARE PROVIDED ON AN “AS
        IS” AND “AS AVAILABLE” BASIS, WITHOUT ANY WARRANTIES OF ANY KIND, EITHER EXPRESS
        OR IMPLIED. NEITHER RETREAVER NOR ANY PERSON ASSOCIATED WITH RETREAVER MAKES
        ANY WARRANTY OR REPRESENTATION WITH RESPECT TO THE COMPLETENESS, SECURITY,
        RELIABILITY, QUALITY, ACCURACY OR AVAILABILITY OF THE SERVICES. WITHOUT LIMITING THE
        FOREGOING, NEITHER RETREAVER NOR ANYONE ASSOCIATED WITH RETREAVER REPRESENTS
        THAT THE SERVICES WILL BE ACCURATE, RELIABLE, ERROR-FREE OR UNINTERRUPTED, THAT
        DEFECTS WILL BE CORRECTED, THAT THE SERVICES ARE FREE OF VIRUSES OR OTHER HARMFUL
        COMPONENTS OR THAT THE SERVICES WILL OTHERWISE MEET YOUR NEEDS OR
        EXPECTATIONS.

        RETREAVER HEREBY DISCLAIMS ALL WARRANTIES OF ANY KIND WHETHER EXPRESS OR
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       RETREAVER HEREBY DISCLAIMS ALL WARRANTIES
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       IMPLIED, STATUTORY OR OTHERWISE, INCLUDING BUT NOT LIMITED TO ANY WARRANTIES OF⍰
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        MERCHANTABILITY, NON-INFRINGEMENT AND FITNESS FOR PARTICULAR PURPOSE.
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        Limitation on Liability
        WHEN PERMITTED BY LAW, RETREAVER, ITS AFFILIATES OR THEIR LICENSORS, SERVICE
        PROVIDERS, EMPLOYEES, AGENTS, OFFICERS OR DIRECTORS WILL NOT BE LIABLE FOR
        DAMAGES OF ANY KIND, UNDER ANY LEGAL THEORY, ARISING OUT OF OR IN CONNECTION
        WITH YOUR USE, OR INABILITY TO USE, THE SERVICES, INCLUDING ANY DIRECT, INDIRECT,
        SPECIAL, INCIDENTAL, CONSEQUENTIAL OR PUNITIVE DAMAGES.


        Compliance with Laws
        If you are using the Services for telemarketing or similarly regulated purposes, then you are directly
        and solely responsible for compliance with applicable laws, including without limitation for filing,
        subscribing, or holding appropriate regulatory compliance documentation as required by competent
        jurisdictions and/or the purchase of access to any do-not-call lists and the like.

        You agree to familiarize yourself with and abide by all applicable local, state, national and international
        laws and regulations and you are solely responsible for all acts or omissions that occur under their
        account, including without limitation the content of the phone calls and messages transmitted through
        the Services.


        Indemnification
        You agree to defend, indemnify and hold harmless Retreaver, its affiliates, licensors and service
        providers, and its and their respective officers, directors, employees, contractors, agents, licensors,
        suppliers, successors and assigns from and against any claims, liabilities, damages, judgments, awards,
        losses, costs, expenses or fees (including reasonable attorneys' fees) arising out of or relating to your
        violation of these Terms of Service or your use of the Services.


        Governing Law and Jurisdiction
        The laws of the state of Delaware, without giving effect to its principles of conflicts of law, govern all
        adversarial proceedings arising out of these Terms of Service and your use of the Services.

        Any legal suit, action or proceeding arising out of, or related to, these Terms of Service or your use of
        the Services must be instituted exclusively in in the United States District Court for the District of
        Colorado or in any state court of Colorado sitting in Denver, and each party hereby submits to the
        exclusive jurisdiction of those courts for purposes of any such proceeding.


        Limitation on Time to File Claims
        ANY CAUSE OF ACTION OR CLAIM YOU MAY HAVE ARISING OUT OF OR RELATING TO THESE
        TERMS OF SERVICE OR THE SERVICES MUST BE COMMENCED WITHIN ONE YEAR AFTER THE
        CAUSE OF ACTION ACCRUES, OTHERWISE, SUCH CAUSE OF ACTION OR CLAIM IS
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        If any provision of these Terms of Service is held to be unenforceable, then that provision will be
        modified to the minimum extent necessary to make it enforceable, unless that modification is not
        permitted by law, in which case that provision will be disregarded.


        Entire Agreement
        The Terms of Service, our Privacy Policy, and our Copyright Policy constitute the entire understanding
        between you and Retreaver with respect to the Services and supersedes all other agreements, whether
        written and oral, between you and Retreaver.


        Your Comments and Concerns
        All notices of copyright infringement claims should be sent to the copyright agent designated in our
        Copyright Policy.

        All communications relating to the Services should be directed to: support@retreaver.com.




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